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                        UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO


  In re:
                                              Case No. 1:20-cv-00120-BLW
  COLETTE CLAIRE SAVAGE,
                                              MEMORANDUM DECISION
       Debtor,                                AND ORDER
  ______________________________

  Colette Claire Savage,

           Appellant,

            v.

  Mark Savage,

           Appellee.



                                    INTRODUCTION

       In June 2020, the Court entered a decision dismissing this bankruptcy

appeal. The appeal had become moot because a few months after Ms. Savage filed

the appeal because the bankruptcy court dismissed her bankruptcy case. As the

Court explained in its earlier order, “[e]ven if Ms. Savage prevails on appeal, there

is no remaining bankruptcy case and, therefore, no continued right to an automatic

stay.” June 22, 2020 Order, Dkt. 19, at 3. Ms. Savage did not appeal this Court’s

order to the Ninth Circuit. Instead, she has filed two additional post-judgment

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motions in this Court. See Dkts. 21, 23. The pro se filings are lengthy and cover

various topics, but the gist is that Ms. Savage remains unhappy with the

bankruptcy court’s decision. She is also unhappy with the fact that a district court,

rather than the Ninth Circuit’s Bankruptcy Appellate Panel, decided this appeal.

See, e.g., Motion captioned “Reconsideration Fraud Creditor Claim,” Dkt. 21, at

6 (“Knowing I endured great prejudice why did this court not transfer my case

back to the Bankruptcy Appellate board.”)

                                    DISCUSSION

      The Court will deny both pending motions because Ms. Savage has not

identified any authority which would warrant altering or amending the judgment.

Otherwise, as the Court explained earlier, a district court has no authority to

transfer an appeal to a Bankruptcy Appellate Panel if either side timely elects to

have the matter heard in district court. See 28 U.S.C. § 158(c)(1)(B); see also Fed.

R. Bankr. P. 8005; Dist. Idaho L. Bank. R. 8001.1(c)(2) (“Upon timely receipt of a

written objection to an appeal being heard and determined by the BAP, jurisdiction

over the appeal shall be immediately transferred to the district court”).

                                      ORDER

      IT IS ORDERED that:

      (1)    Appellant Colette Claire Savage’s Motion for “Reconsideration Fraud

             Creditor Claim”, filed on July 21, 2020 (Dkt. 21) is DENIED.


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      (2)    Appellant Colette Claire Savage’s Motion for “Reconsideration Fraud

             Creditor Claim”, filed on July 24, 2020 (Dkt. 23) is DENIED.

      (3)    No further filings will be entertained in this closed appeal.

                                              DATED: October 27, 2020


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




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